          Case: 22-55293, 02/27/2023, ID: 12663182, DktEntry: 46, Page 1 of 1




                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s) 22-55293

Case Name Robert Bezzina v. United Airlines, Inc.

Hearing Location (city) Pasadena

Your Name Janet Gusdorff

List the sitting dates for the three sitting months you were asked to review:
June 5-9, 12-16, 26-30; July 10-14, 17-21; August 14-18, 21-25, 2023.



Do you have an unresolvable conflict on any of the above dates?                                Yes      No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:
June 26-30, 2023 I will be out of town on pre-paid, non-refundable family
vacation




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):




Signature s/ Janet Gusdorff                                            Date 2-27-2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
